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                     EXHIBIT G
                  D.F. et al., v. Sikorsky Aircraft Corporation, et al.
                      USDC Case No.: 13:cv-00331-GPC-KSC
                 (Exhibits to Declaration of Marshall J. Shepardson
             In Support of Opposition to Motion for Summary Judgment)
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      March 29, 2017


      Marshal J. Shepardson
      Grassini, Wrinkle, & Johnson
      20750 Ventura Blvd, Ste. 221
      Woodland Hills, CA 91364


      Ref:   Aircraft: Sikorsky, CH-53E Super Stallion
             Registration: BUNO 163077, Side Number 69
             Accident Date: March 17, 2011
             Location: Miramar, U.S. Marine Corps Air Station, California


      Dear Mr.

      I have considered the list of documents contained in Appendix 1 along with other
      materials from my library. I have the listing of credentials, listing of my depositions and
      trials, listing of my articles and rate sheet in my CV in Appendix 2. This is a report of my
      observations and conclusions in the aircraft accident involving BUNO 163077, Side
      Number 69 that occurred on March 17, 2011, at the Miramar U.S. Marine Corps Air
      Station, California. My observations and conclusions are based on my fifty two years of
      working in various aspects of the aviation industry, my work performed in this case and
      the observations and conclusions of other experts. I followed portions, as apply, of the
      analytical methodology set forth in Accident Investigation manuals used by Embry
      Riddle, USC, US Navy NAVAIR, US Air Force Mishap, TSB MOI, and NTSB that are
      also used by other investigators in performing investigations under the International Civil
      Aviation Organization (ICAO) and Annex 13 guidelines. I reserve the right to amend and
      add to this report, as further information is made available.


      Scenario

      The subject Sikorsky CH-53E Super Stallion helicopter was being prepared to taxi, on a
      training flight for the United States Marine Corp, when the pilots gave the authority to
      pull the “pins and chocks”. Upon pulling the pin from the left hand main landing gear the



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      gear retracted causing the helicopter to fall onto Sargent Fontalvo, a qualified Aerial
      Observer for the subject flight. Sargent Fontalvo was fatally injured during the accident.


      Aircraft

      The subject aircraft was a Sikorsky CH-53E Super Stallion helicopter identified in the
      Command Investigation Report and its enclosures as a grey Cargo Helicopter (CH) 53E,
      BUNO 163077, side number 69, assigned to HMH-361.


      Findings

      My findings and opinions are based on 52 years of training, and experience as an A&P
      mechanic in troubleshooting and repairing wiring issues in corporate and private aviation.

      There are several sections of damaged wire that were noted during the investigation into
      this matter. There are damaged Kapton wires and there are damaged manufacturer
      installed “Spec-55” wires which directly control the main landing gear operation for the
      subject helicopter.

      The damage to the Kapton wire in the subject helicopter is consistent with scraping and
      tearing due to being removed from the helicopter after the accident. The damaged areas
      of the Kapton wires appear to have jagged and torn sections that are consistent with being
      removed from the helicopter or damage following their removal.

      During Mr. Manning Stelzer’s deposition taken on September 9, 2016 he produced his
      subject Sikorsky Materials Engineering Report as Exhibit 2, which references his report
      from the BUNO 161394 report at MCAS New River, N.C., and was produced as Exhibit
      3. Mr. Stelzer comes to similar conclusions in both reports that the ultimate cause is the
      damage to the Kapton wire. In my opinion comparing the photos of both accidents the
      Kapton wire damage in the 2005 accident was consistent with commonly seen age related
      deterioration. The sections of Kapton wire that I inspected during the subject
      investigation exhibited a very low degree of age related deterioration as compared to the
      wire sections inspected during the 2005 accident. The subject Kapton wires exhibited
      damage consistent with removal from the helicopter and or handling damage following
      their removal from the subject helicopter. This kind of damage was not present in the
      2005 accident wiring. These areas of damage on the subject Kapton wires outer coating
      exhibit ripped, torn, and jagged edges. The damage to the Kapton wire outer coating
      appears to be new damage that does not penetrate the inner amber coating or expose any
      conductive surfaces of the wire. These signatures are consistent with being damaged
      during removal or handling after removal from the helicopter.

      The other section of wires that had noted damage were the manufacturer installed Cannon
      plug Spec-55 pigtails (as noted in the Redacted Safety Report) for splicing into the main
      landing gear electrical control to the hydraulic retraction/extension system. These wires



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      were identified as P494 Pin A of the UP Main Landing Gear Control Valve and P495 Pin
      A of the Down Main Landing Gear Control Valve. Based on my experience these wires
      exhibit signatures consistent with chaffing. The damaged wire coating of the Spec-55
      wire have smooth appearing edges with a lack of tearing and ripping signatures. The
      chaffed areas were worn through the coating exposing the bare wires. The bare wires
      exhibits signatures that in my opinion are consistent with chaffing and some areas of
      electrical arcing. Based on my experience and career, a fatal short occurred in the Spec-
      55 wire of the main landing gear hydraulic system that directly resulted in this main
      landing gear retraction malfunction and fatal accident.

      In Robert Wuthrich’s deposition taken on March 17, 2016 in Exhibit 2 he describes the
      steps they took to troubleshoot the subject aircraft mishap. Mr. Wuthrich noted that the
      tension was tight on the Down Landing Gear Control Valve wires and they lacked proper
      strain relief. He also noted areas of wire coating wear through where the wires made
      contact with the Landing Gear Control Valve Cannon Plug. Adding electrical power to
      the damage exposed wires caused the landing gear to operate. This indicates to me that a
      fatal short at a chaffed and arced area on wire on P494 Pin A is the most likely cause of
      this accident.

      The arcing would have created an intermittent unpredictable electrical signal being sent
      to the main landing gear hydraulic retraction system. The uncommanded intermittent
      activation of the main landing gear hydraulic retraction system caused the landing gear
      hydraulic system to load and unload without warning, creating a situation in which the
      main landing gear down lock pin could be removed with no resistance, as it should be,
      one moment, then causing the pin to become difficult if not impossible to remove the
      next moment.

      During the later stages of the manufacturing process, helicopters including the subject
      helicopter, are put through a shake test and then inspected to ensure the proper security of
      the wiring in the helicopter. In areas that squawks are identified the wiring is further
      secured to prevent further issues. It is the nature of helicopters to shake and vibrate
      during normal operation and all wiring should be properly secured prior to and following
      the shake test. The proper installation during manufacture is important due to the fact that
      over time electrical wiring tends to settle, which can result in age related damage and
      chaffing and sagging damage if the wires are not properly secured during manufacture. It
      appears to me that the installation of the main landing gear hydraulic wiring was non-
      compliant with Military Specification MIL-W-5088F section 3.11.7 Radius of Bend.

      In aviation, in general, but especially in helicopters there should be no system in which a
      Single Point Failure can occur. Every system in a helicopter has back-up systems and
      some of the back-up systems have back-up systems. This fatal short at the chaff damaged
      areas on pin A of P494 bypassed all of the main landing gear safety systems, creating a
      Single Point Failure of the main landing gear hydraulic retraction system.

      To a reasonable degree of probability the non-compliant installation and damage to the
      subject Spec-55 wires, due to chaffing, caused an intermittent fatal short, arcing, and



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      uncommanded activation of the main landing gear retraction system that directly resulted
      in this main landing gear retraction malfunction and fatal accident.

      I reserve the right to make changes as new information is obtained. Although these are
      the main categories of my opinions, there are related opinions and sub-opinions which
      opposing counsel will be able to obtain during my deposition. Furthermore, I expect to
      have counter-opinions to defense experts’ opinions once those opinions are fully
      disclosed. Again, I believe defense counsel will have an opportunity to inquire as to these
      counter-opinions at the time of my deposition.

      Sincerely,



      Arthur Lee Coffman




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                                   Appendix 1
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                            Fontalvo List of Documents Considered

         1. Command Report: Command Investigation Report & All Encl. (electronic);
         2. ASU Photos: 12.001 insp 10-22-15 (electronic); 12.001 insp Seal 1-13-16
             (electronic);
         3. Other Photos: Bloomfield Photos May, 2014; Wiring Insp. Jan. 2016 (phys file);
             Seal Hirox Bag 6 insp 9-16 (electronic);
         4. Reports: CH-53E Safety Inv. Report (Confidential) (electronic);
         5. Depositions: Depo of R. Wuthrich 3-17-16 (physical in #6); Depo of Evan
             Shelton 5-25-16; Depos - Bresch, Hamilton, Lowenstein, Wakefield; Depos
             Bassett, Harmon, Leigh, Muja, Stelzer; Depos of Mellen (exh.) & Fletcher
             (physical); Depos of Sparks & Mellen; Depo of Aldo Bassignani 11-15-16
             (electronic); Depo of Olivia Muja 2-16-17 (electronic);
         6. Requests and Responses: Fontalvo Information; Declaration of Lee Coffman
             (electronic); Motion to Remand (electronic); Protective Order signed 12-4-14
             (electronic); [Proposed] Order Dir. SECNAV to Prod. Crit. Gov. Ev. (electronic);
             FOIA DF-00001 to DF-00370; DuPont’s Initial Disclosures DUP 1-365 (Conf.);
             Sikorsky's Initial Disclosures SIK 1-8352 (Conf.); NAVAIR Confidential Prod. 5
             (Disks); Supp Navy Production (Confidential) (electronic); Def. Response to 2nd
             Set of RFP (electronic); Proposed DuPont Product ID Protocol - 7.27.15
             (electronic); Stip. Amendment to Protective Order; Confidential Docs;
             Documents 3-31-16 (physical): MIL 1-101,289 & Depos of Brown, Coffin,
             Fitzsimmons, Perkins, / 4-11-16: MIL 102,346-200,333 & Depos of Stevens,
             Wuthrich, Wilcox; Draft Protocol 12-12-16 (electronic); Expert Disclosures
             (physical); Designation of Expert Witnesses of DuPont (electronic); Designation
             of Expert Witnesses of Sikorsky (electronic); Expert Disclosure of PKL Services
             (electronic);
         7. Logbooks:
         8. AD’s, SB’s, etc:
         9. Maintenance Chronology: Maintenance Record (electronic);
         10. Manuals: Natops CH-53A & D Flight Manual (electronic); Natops MH-53E
             Flight Manual 15 Dec 2000 (electronic); Natops CH-53E Flight Manual
             (electronic); Safety Pin (electronic);
         11. Maintenance Documents: WO's (electronic);
         12. Articles:
         13. Inspection Docs:
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                                   Appendix 2
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                          ARTHUR "LEE" COFFMAN
                           AERO SERVICES UNLIMITED
                               6703 Thunder Road
                              Amarillo, TX 79119
                                 (505) 820-1476




   HISTORY

   Legal Firms, Insurance Companies and Adjusters have consulted me
   on a regular basis over the last 38 years. I have been consulted,
   deposed and/or testified in over 570 cases and claims.

   I have developed, in 52 years of experience in the Aviation
   Business, an expertise in Piston and Turbine Engines, Corporate
   Aircraft, Agricultural Aircraft and General Aviation Aircraft
   that is rarely equaled. Trouble-shooting, mechanical knowledge
   and market knowledge plus the ability to communicate with the
   owners, pilots and mechanics are my strengths.


   REFERENCES


   Anthony Tarricone      Kreindler & Kreindler LLP          (617) 424-9100


   Stuart R. Fraenkel     Nelson Fraenkel LLP                (213) 622-6469


   I am available for consultation at your convenience.


   Office       (505) 820-1476

   FAX          (505) 820-1674


   E-mail       turbine@suddenlink.net

   Sincerely,

   Lee Coffman


   See Attached:
                                                                      Rev. 2/17
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                              PERSONAL RECORD

   NAME:        Arthur "Lee" Coffman

   CERTIFICATE NO.:       A&P (IA) 1605619


   TOTAL EXPERIENCE IN AVIATION:           52 Years


   EDUCATION:

   1959              Grady High - Grady, NM, Graduated

   1959-1963        Pasadena College - Pasadena, CA, Liberal Arts

   1963-1964        Northrop University - Inglewood, CA, A&P Mechanic

   1963-Present     Pilot certificates & ratings; commercial-airplane
                    single & multi. land-instrument, Total Time 2000+
                    in over 75 different models of aircraft

   1964-Present     Various job-related training schools

   1978              FAA Inspection Authorization


   TECHNICAL TRAINING:

   4/76         Garrett TPE331 Series Classroom & Shop, (2 Weeks)
                Phoenix, AZ

   3/76         Marathon Battery Classroom & Shop, (3 Days)
                Houston, TX

   6/77         Cessna 400 Series Classroom & Shop, (2 Weeks)
                Wichita, KS

   2/82         Beech King Air 200 Classroom & Shop, (2 Weeks)
                Wichita, KS

   6/82         Airwork PT6A "Bedding in Runs on the Wing" Classroom &
                Shop, (2 Days) - Houston, TX

   3/84         Beech Wing Inspection, Eddy Current Certification
                Classroom & Shop, (1 Week) - Wichita, KS

   5/85         Lear Jet 24, 25, 28 & 29 Classroom & Shop
                                      (2 Weeks)-Tucson, AZ

                                                                       Rev. 2/17
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   PERSONAL RECORD
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   4/88        Parker Hannifin Corp Fuel Nozzle Maintenance Classroom
               & Shop, (2 Days) - Phoenix, AZ

   11/88       Pratt & Whitney Canada Engine Condition Trend
               Monitoring Classroom, (2 Days) - Seattle, WA

   3/89        Pratt & Whitney Canada PT6A Seminar Classroom (2 Days)
               Seattle, WA

   4/89        Pratt & Whitney Canada JT15 Seminar Classroom (2 Days)
               Seattle, WA

   4/91        Cessna 300-400 Series Pressurization - I Classroom &
               Shop, (1 Day), - Flightcraft, Seattle, WA

   4/91        Cessna Multiengine Landing Gear - I Classroom & Shop,
               (1 Day) - Flightcraft, Seattle, WA

   11/91       NDI Level II in MT & PT Inspection Classroom & Shop,
               (5 Days) - Aviall Inc., Dallas, TX

   7/92        NDI Level III in MT & PT Inspection Examiner Classroom
               & Shop, (3 Days) - Aviall Inc., Dallas, TX

   12/93       Pratt & Whitney Canada PT6A-41/45 Heavy Maintenance
               Classroom & Shop, (7 Days) - Longueuil, Quebec

   1/94        Allied Signal TPE331 Line Maintenance Classroom & Shop,
               (2 Weeks) - Phoenix, AZ

   11/94       FAA Approved Parts Seminar Classroom, (1 Day)
               FAA, El Paso, TX

   4/95        P & W JT8D-7/17 Combustion Chamber Borescope Inspection
               Classroom, (3 Days) – Aviall - Dallas, TX

   12/96       Inspection Authorization Refresher Seminar
               Classroom, (1 Day) - A.E.S.A., Albuquerque, NM

   6/97        Allison 250, Series II Engines Maintenance/Oper.
               Classroom, (1/2 Day) - DAI, Phoenix, AZ

   6/97        P & W JT15D Line Maintenance & Operation
               Classroom, (1/2 Day) - DAI, Phoenix, AZ

   2/98        Southern Methodist University Air Law Symposium,
               Classroom, (2 Days) - Dallas, TX

   1/99        Flight Safety's Principles of Troubleshooting Course
               Classroom, (2 1/2 Days) - San Antonio, TX
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   PERSONAL RECORD
   Page 3 of 5

   1/99        Pratt & Whitney Canada PT6A-60/65/67 Line Maintenance
               Classroom, (3 1/2 Days) - Okmulgee, OK

   10/99       ABA 1999 Aviation Litigation Seminar,
               Classroom, (2 Days) - Washington, DC

   6/00        Advanced Accident Investigation by Embry-Riddle
               Aeronautical University,
               Classroom & Field, (4 Days) - Prescott, AZ

   2/01        Southern Methodist University Air Law Symposium,
               Classroom, (2 Days) - Dallas, TX

   1/02        Inspection Authorization Refresher Seminar
               Classroom, (1 Day) - A.E.S.A., Albuquerque, NM

   1/03        Inspection Authorization Refresher Seminar
               Classroom, (1 Day) - A.E.S.A., Albuquerque, NM

   2/03        Southern Methodist University Air Law Symposium,
               Classroom, (2 Days) - Dallas, TX

   1/04        Inspection Authorization Refresher Seminar
               Classroom, (1 Day) - A.E.S.A., Albuquerque, NM

   2/04        Southern Methodist University Air Law Symposium,
               Classroom, (2 Days) - Dallas, TX

   1/05        Inspection Authorization Refresher Seminar
               Classroom, (1 Day) - A.E.S.A., Las Vegas, NV

   3/06        Inspection Authorization Web Classes (8 Hours)

   2/07        Inspection Authorization Web Classes (8 Hours)

   3/08        Inspection Authorization Web Classes (11.4 Hours)

   3/09        Inspection Authorization Web Classes (11.5 Hours)

   3/10        Inspection Authorization Web Classes (11.5 Hours)

   12/10       Honeywell TPE331 Engine Series Maintenance Training,
               Classroom, (1 Day) – CD Aviation, Savannah, GA

   3/12        Inspection Authorization Web classes (9.6 Hours)

   3/13        Inspection Authorization Web Classes (9.6 Hours)

   12/14       P&WC NAAA PT6A Seminar
               Classroom (8.0 Hours) Louisville, KY
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   PERSONAL RECORD
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   12/15       P&WC NAAA PT6A Seminar
               Classroom (8.0 Hours) Savannah, GA

   1/17        FAA IA Seminar, Lycoming, PT6A, Air Tractor
               Classroom (8.0 Hours) Lubbock, TX



   EMPLOYMENT:

   9/64        Coronado Aircraft, Albuquerque, NM
   5/65        Aircraft Mechanic for general aviation aircraft

   8/65        Pacific Airmotive Corporation, Burbank, CA
   4/67        Aircraft Mechanic for general aviation aircraft

   5/67        Air Hub, Tucumcari, NM
   2/68        Aircraft Mechanic for general aviation aircraft

   2/68        Pitts Aero Repair, Hereford, TX
   2/75        Service Manager; maintenance of 35 spray planes, plus
               corporate and general aviation aircraft

   2/75        AAR Amarillo, Amarillo, TX
   7/79        Service Manager; Cessna Citation Service Station,
               performing HSI's on JT15 & PT6A, maintaining many other
               Turboprop and Jet Aircraft

   7/79        Chaparral Aviation, Amarillo, TX
   10/88       Service Manager; Beech, Cessna, Piper & Bell Service
               Center, This was the out standing Beechcraft, King Air
               and PT6A shop of the Region

   10/88       Flightcraft Inc., Seattle, WA
   7/91        Service Manager; Beech, Cessna, Piper & McDonnell
               Douglas Service Center, This was the out standing
               Turboprop and Jet shop of the Region

   10/91       Aviall Inc., Dallas, TX
   10/92       Quality Control Manager of 7 turbine shops and 22
               product-engineering shops across the US plus a time
               over the PT6A, JT15 & TPE331 overhaul line

   10/92       Aviall Inc. / Dallas Airmotive Inc., Dallas, TX
   10/95       Regional Manager Engine Sales/Service PT6A/TPE331
               South Central Region - NM, TX, LA, MS, AR & OK

   10/95       Dallas Airmotive Inc., Dallas, TX
   7/96        Agricultural Engine Program Manager Sales/Service
               PT6A/TPE331 for the US
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   PERSONAL RECORD
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   8/96        Aero Services Unlimited, Santa Fe, NM
   9/06        Aviation Consultant

   10/06       Aero Services Unlimited, Amarillo, TX
   Present     Aviation Consultant
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   List of Cases
   Page 1 of 3

                             Arthur "Lee" Coffman
                           Aero Services Unlimited
                               6703 Thunder Road
                                  Amarillo, TX
                                  505-820-1476


   The following is the list of cases in which I have consulted,
   been deposed and/or testified during the last four years.

   COURT       DATE       CAPTION:                     TRIAL      PLAINTIFF
                                                       DEP.       DEFENDANT



               1/13       Sacha Wood R44II Crash                        P
               1/13       Sabin Cessna 340A Crash                       P
               1/13       Seminole EC 130 B4 Crash                      P
               1/13       Dawson Creek C206-C Crash                     P
               1/13       Wood Group PT6A-114            Dep.           P
               2/13       Rust C206G Crash                              P
               2/13       Hunt TFE731                    Dep.           P
               3/13       Feldkamp PC-12 Crash                          P
               3/13       Baytown Crash                                 P
               3/13       Easley PT6A-34AG               Dep.           P
               4/13       Otieno Bell 206B Crash                        P
               4/13       Langenbau Bell 407 Crash                      P
               4/13       Melton Cirrus SR22 Crash                      P
               4/13       Littlejohn B58 Crash                          P
               5/13       PT6A-42A SN PCE-RM0340 Failure                D
               5/13       Nelson B58 Crash                              P
   Sta/DAL     5/13       Hunt TFE731                    Trial          P
               6/13       PT6T-3 Twin Pack Failure                      D
               9/13       PT6A-27 PC-E41696 Failure                     D
               9/13       PT6A-11 ACDA13016721 Failure                  D
               9/13       Mooney M20-J Crash                            P
               9/13       Cessna 421C Crash                             P
               9/13       PT6A-34AG PCE-PH0851 Failure                  D
               11/13      PA-24-250 Crash                               P
   Sta/BOS     11/13      Rezendes BE300                 Trial          P
               12/13      TPE331 USS0106678-12 Fire                     D
               12/13      Roth B390 Premier 1A Crash                    P
               12/13      Quinn C208B Crash                             D
               12/13      Goldstein 421B                 Dep.           P
               12/13      Shively Apache Heli Failure                   P
               1/14       Jetstream Aviation Failure                    P
               1/14       ALS PT6A-21 FOD                               D
               2/14       Mull 690C Crash                               P
               2/14       Cavner U206F Crash                            P
               3/14       Smith AS-350-B3 Crash                         P
   Sta/Dal     4/14       Hunt TFE731                    Trial          P
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   List of Cases
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               4/14       Voit Beech A36TC Crash                        P
               5/14       Alsip Socata TB-20 Crash                      P
               5/14       Dudley PT6A-67AG Failure           Dep.       P
               5/14       Chapman AS350 Crash                Dep.       P
               5/14       Lewis 269C-1 Crash                 Dep.       P
               5/14       Lallo M20J Crash                              P
               6/14       Boyne City m20R Crash                         P
               6/14       Dobbs-Sizemore 206L-1 Crash                   P
               6/14       Inhofe MU2B-25 Crash                          P
   Sta/HOU     7/14       Easley PT6A-34 Failure             Trial      P
               8/14       ALS PT6A-28 FOD                               D
   Sta/ANC     8/14       Rust 206G Crash                    Trial      P
               8/14       DHC-8-103 Crash                               P
               8/14       HI 208B Crash                                 P
   Sta/LAS     9/14       Chapman AS350 Crash                Trial      P
               9/14       685 Commander Crash                           P
               9/14       DHC-3 Otter Crash                             P
               10/14      CAP Jets PT6A Failure                         P
               10/14      Littlejohn B58 Crash               Dep.       P
               11/14      KA B200 Crash                                 P
               11/14      Greystoke PT6A-114 Failure         Dep.       P
               11/14      ALS PT6A-42A Fire                             D
               12/14      Phenon 100 Crash                              P
               1/15       Wilder PA-34 Crash                            P
               1/15       Viola Enstrom 208FX Crash                     P
   Sta/TX      1/15       Philips PA-24-250 Crash            Trial      P
               1/15       Cavner U206F Crash                 Dep.       P
               2/15       Henkel Beech C24R Crash                       P
               3/15       PAM TPE331-5 Crash                            D
               3/15       PAM TPE331-10 Crash                           D
               3/15       Socata TBM 700 Crash                          P
               4/15       Cebeza PA-32R-300 Crash                       P
               4/15       DeVries G-IV Crash                            D
               4/15       Blake 421C Crash                              P
               4/15       Johnson 421C Crash                            P
               4/15       PAM PT6A-65AG Failure                         D
               4/15       Mullen 206L Crash                             P
               5/15       Cardenas PA-32R-301T Crash                    P
               5/15       Beech 1900C Crash                             P
               5/15       McNamee 172M Crash                            P
               6/15       Transwest Bell 214 Crash                      P
               6/15       Repsher/Bowie AS350-B3E Crash                 P
               7/15       Beech A36 Failure                             P
               8/15       Rockwell 112A Crash                           P
               8/15       Teutenburg 421C                    Dep.       P
               9/15       Webb B35 Crash                                P
               9/15       Smethers Bell 206B Crash                      P
               9/15       Stewart PA28R-201 Crash                       P
               10/15      Kalister A36 Crash                            P
               10/15      Murray SR22 Crash                             P
               12/15      KA B200 PCE-93145                             P
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               12/15      Langenbau Bell 407                 Dep.       P
               1/16       ORI JT-15D FOD                                D
               1/16       ORI PT6A-65 MIO                               D
               2/16       ORI PT6A-60 Crash                             D
               2/16       Quinn C208B Crash                  Dep.       P
               3/16       Adams C150H Crash                             P
               3/16       Whitehurst C208B Crash                        P
               3/16       Steitz C404 Crash                             P
               3/16       Meyer Lancair Crash                           P
               3/16       Sultan SR20 Crash                             P
               3/16       685 Commander Crash                Dep.       P
               5/16       ORI AT602 FCU Failure                         D
               5/16       Cessna 441 Crash                              P
   Sta/HOU     5/16       685 Commander Crash                Trial      P
               8/16       Jones B300 Corrosion                          P
               8/16       Teitlebaum R44 Crash                          P
               8/16       Mooney M20 Crash                              P
               9/16       UTP PT6A-34 CT Blade Fail                     P
               9/16       KA B200 PCE-93145 Failure          Depo.      P
               10/16      Avantair Piaggio Airworthy                    P
               10/16      Milligan 421B Crash                           P
               10/16      Cernadas AS350B2 Crash                        P
               11/16      Sundre Kodiak Oil                             P
               11/16      Donahue C172S Crash                           P
               11/16      Peoples B35 Crash                             P
               11/16      Ballinger R22 Crash                Depo.      P

               1/17       USAU PT6A-34 FOD/CT Blade                     D
               1/17       Garcia Lyc TIO-540 Crash                      P
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                    Turbine Barbecue, 10/97, 1/17
                    Fuel Nozzle Blues, 11/97
                    Turbine Engine Investment, 12/97
                    Shut Down Turbine Engine Landing, 1/98
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                    Overtemp Damage And How To Avoid It, 2/98
                    Transition To Brave New World of Turbine Engines,
                    9/98




                            Billing Rate for Labor


   Research, Reports & Travel                    $ 225.00 Per Hour


   A Retainer is Required                        $ 5,000.00


   Expenses will be added to billing
